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IN THE UNITED STATES DISTRICT COURT

 

FOR THE WESTERN DISTRICT OF` TENNESSEE /2-€¢ x ~//:0
EASTERN DIVISION <)?-
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BERNELL S., JR., )
)
Plaintiff, )
)

vs. ) No.: 1:99-1260 Bre-P
)
CORRECTIONS CORPORATION )
OF AMERICA, et al,. )
)
Defendants. )

 

AGREED ORDER OF DlSMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, with full prejudice, the
Court therefore finds that this cause should be dismissed, With full prejudice and,
accordingly:

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of Ainerica, Doctor Crants, Prison Realty Trust, lnc,, Correctional
l\/Ianagement Services Corporation, Prison Realty Management, lnc., and Prison
Managenient Services, Inc., With prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND DECREED that costs of this cause,
including filing fees, will be paid by Plaintiff and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, Will be applied for or awarded by
either party.

This document entered on the dock

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Case 1:99-cV-01260-.]DB-tmp Document 91 Filed 07/01/05 Page 2 of 4 Page|D 70

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Dated: this l day ofdeQ_~`

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, 2005.

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J. DANIEL BREE

@ED STATES DISTRICT JU GE

APPROVED FOR EN'I`RY:

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Case 1:99-cV-01260-.]DB-tmp Document 91 Filed 07/01/05 Page 3 of 4 Page|D 71

CERTIFICATE OF SERVICE

I certify that a copy ofthe foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,

Columbia, sc 29201 an June 26 , 2005.

PENTECOST, GLENN & RUDD, PLLC

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Notice of Distribution

This notice confirms a copy of the document docketed as number 91 in
case 1:99-CV-01260 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

